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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                       Michael Frasier                                 )
                            Plaintiff                                  )
                          v.                                           )     Civil Action No.      4:20-cv-4123-DCC
           Ridgeland Correctional Institution                          )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)             the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of          %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
 other: This case is dismissed without prejudice pursuant to Fed. R. Civ. P. 41(b).


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable Donald C. Coggins, Jr., United States District Judge.

                                                                           ROBIN L. BLUME
Date: January 12, 2021                                                     CLERK OF COURT


                                                                                           s/Debbie Stokes
                                                                                        Signature of Clerk or Deputy Clerk
